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425 Eagle Rock Avenue, Suite 302, Roseland, NJ 07068
(973) 618-4100 Fax (973) 618-0685
Justin F. Johnson, Resident Managing Attorney

Direct Dial: (973) 618-4185
Email: jfjohnson@mdwcg.com

                                                             September 1, 2022


Via Electronic Filing

Magistrate Judge Michael A. Hammer
United States District Court
Martin Luther King, Jr. Federal Building & US Courthouse
50 Walnut Street
Newark, NJ 07101

          RE:        Rashaun Ferguson v. University Correctional Health Care
                     Docket No.:   16-cv-03304-ES-MAH
                     Our File No.: 21112.00172

Dear Judge Hammer:

        In accordance with Your Honor’s directive, kindly accept the following as our “joint
status report” in the above matter.

        As Your Honor was previously made aware, this matter has been settled between the
parties. Inasmuch as the defendant is an entity of the State of New Jersey, a mandatory State lien
search was conducted and a number of “hits” were identified. Counsel are working together
(along with the State) to resolve these outstanding lien issues, after which an appropriate Release
will be prepared and executed and the settlement check will be issued. Counsel have conferred,
and we do not believe further Court intervention is necessary at this time. We will, of course,
apprise the Court when finality has been reached.

        Your Honor’s consideration of the foregoing is sincerely appreciated.

                                        Respectfully submitted,



                                        Justin F. Johnson
JFJ/kb
CC: B. David Jarashow, Esq.
LEGAL/147635676.v1
